              IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF PENNSYLVANIA

THE PENNSYLVANIA STATE
UNIVERSITY,

Plaintiff,                                   Case No. 4:21-cv-01091-MWB

               v.
                                             JURY TRIAL DEMANDED
VINTAGE BRAND, LLC;
SPORTSWEAR, INC., dba PREP
SPORTSWEAR; CHAD
HARTVIGSON; ERIK
HARTVIGSON; MICHELLE
YOUNG


Defendants.

                    Plaintiff The Pennsylvania State University’s
                       Motion for Partial Summary Judgment

      Pursuant to Federal Rule of Civil Procedure 56, and for the reasons set forth

in the accompanying Brief and Statement of Undisputed Material Facts, Plaintiff

The Pennsylvania State University (“Penn State”), hereby respectfully moves for

partial summary judgment. Specifically, Penn State moves for judgment as a matter

of law on the following grounds.

      A. Contested Grounds for Relief

Penn State should be granted judgment as a matter of law on the following Counts:

   1) Count I of the Second Amended Complaint for Federal Trademark

      Infringement with respect to the following registered trademarks:
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     a. U.S. Registration No. 1,308,610 (PENN STATE);

     b. U.S. Registration No. 5,766,698 (PENN STATE);

     c. U.S. Registration No. 1,315,693 (THE PENNSYLVANIA STATE

        UNIVERSITY);

     d. U.S. Registration No. 5,399,989 (THE PENNSYLVANIA STATE

        UNIVERSITY);

     e. U.S. Registration No. 5,742,516 (THE PENNSYLVANIA STATE

        UNIVERSITY);

     f. U.S. Registration No. 1,276,712 (University Seal);

     g. U.S. Registration No. 5,877,080 (University Seal);

     h. U.S. Registration No. 1,350,286 (Lion Shrine Logo);

     i. U.S. Registration No. 1,397,810 (Lion Shrine Logo)

     j. U.S. Registration No. 5,305,910 (Pozniak Lion Logo)

2) Count II of the Second Amended Complaint for Counterfeiting of the

  following registered trademarks:

     a. U.S. Registration No. 1,308,610 (PENN STATE);

     b. U.S. Registration No. 5,766,698 (PENN STATE);

     c. U.S. Registration No. 1,315,693 (THE PENNSYLVANIA STATE

        UNIVERSITY);




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     d. U.S. Registration No. 5,399,989 (THE PENNSYLVANIA STATE

        UNIVERSITY);

     e. U.S. Registration No. 5,742,516 (THE PENNSYLVANIA STATE

        UNIVERSITY);

     f. U.S. Registration No. 1,276,712 (University Seal);

     g. U.S. Registration No. 5,877,080 (University Seal);

     h. U.S. Registration No. 1,350,286 (Lion Shrine Logo); and

     i. U.S. Registration No. 5,305,910 (Pozniak Lion Logo).

3) Counts III and VII of the Second Amended Complaint for Unfair

  Competition, including based on Penn State’s registered and common law

  rights in the following marks:

     a. PENN STATE;

     b. THE PENNSYLVANIA STATE UNIVERSITY;

     c. The University Seal;

     d. The Lion Shrine Logo;

     e. The Pozniak Lion Logo; and

     f. The S Lion Logo.

4) Count IV of the Second Amended Complaint for False Endorsement based on

  Defendants’ false representations relating to endorsement or sponsorship by

  Penn State on the Vintage Brand Website.

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Defendants’ Counterclaims below should be dismissed as a matter of law and

judgment issued in Penn State’s favor:

   5) Count I of Vintage Brand’s Counterclaims (Dkt. 72) to cancel U.S.

      Registration Nos. 5,766,698 and 5,877,080 as merely ornamental;

   6) Count II of Vintage Brand’s Counterclaims (Dkt. 72) to cancel U.S.

      Registration Nos. 1,276,712 and 5,877,080 as unregistrable pursuant to 15

      U.S.C. § 1052(b); and

   7) Affirmative Defenses 7-8 asserted by each Defendant (Dkt. 72, 75, 76, 77, 78)

      which assert that the marks at issue are merely ornamental;

      Further, Penn State moves the Court for an order that Penn State is entitled to

a permanent injunction enjoining Defendants’ infringing conduct, with Penn State

to submit a proposed order regarding the form of injunction consistent with the

Court’s opinion and ruling on the instant Motion following the issuance of an order.

      Penn State has conferred with counsel for Defendants on the above claims,

and Defendants do not consent to the relief Penn State requests.

      B. Uncontested Grounds for Relief

      Penn State further moves the Court for judgment as a matter of law on

Affirmative Defenses 2-3 asserted by each Defendant (Dkt. 72, 75, 76, 77, 78) which

assert that Penn State’s affirmative claims are barred and/or limited by the statute of

limitations and laches. Defendants commenced their infringing conduct in 2018,

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and Penn State commenced this action in 2021. There is no evidence in the record

that could support these affirmative defenses.

      Penn State has conferred with counsel for Defendants on the above claims,

and Defendants do consent to judgment being granted to Penn State as a matter of

law on these Affirmative Defenses 2-3.

                                       *       *     *

      Penn State respectfully requests that this Court grant the relief set forth in the

accompanying Proposed Order.



Dated: June 2, 2023                     Respectfully submitted,

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      CERTIFICATE OF CONCURRENCE/NON-CONCURRENCE

      I hereby certify that on June 1 and 2, 2023, counsel for Penn State conferred

with Defendants’ counsel regarding the relief that Penn State seeks in this Motion.

Defendants’ counsel concurred with Penn State on the relief sought in part, as is

reflected in the Motion.


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                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Partial Motion for

Summary Judgment with the Clerk of the Court using the CM/ECF system on June

2, 2023, which constitutes service on Defendants pursuant to Fed. R. Civ. P.

5(b)(2)(E):

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